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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                           MISSOULA DIVISION


  GUARDIAN DEFENSE, LLC,
                                                         CV 20–84–M–DLC
                      Plaintiff,

            v.                                                 ORDER

  FALKOR SID, INC.,

                      Defendant.



      Before the Court is the parties’ Stipulation for Dismissal with Prejudice.

(Doc. 53.) The parties request that this Court dismiss all claims and counterclaims

in the above-captioned matter with prejudice and with each party bearing their own

costs and fees. (Id. at 2.)

      Accordingly, IT IS ORDERED that all claims and counterclaims advanced

in this case are DISMISSED with prejudice, with each party to bear their own costs

and fees. The Clerk of Court is directed to close the case file.

      Dated this 5th day of October, 2021.




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